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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
                     Civil No. 21-cv-2088 (JMB/LIB)


CARL ANDERSON AND
TAMMY ANDERSON,

                Plaintiffs,

    v.

UNITED STATES OF AMERICA,

                Defendant.




                  DEFENDANT’S RESPONSE TO
             PLAINTIFFS’ SECOND MOTION TO AMEND
                      SCHEDULING ORDER

                              [FILED UNDER SEAL]




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                                  I.      INTRODUCTION

        Nearly three years into this hard-fought case, Plaintiffs ask the Court to let them

replace their key liability expert with a new and better one. They present an incomplete

narrative in support of this extraordinary request, falsely suggesting their delay resulted

entirely from factors outside their control and glossing over the unfairness and prejudice to

the United States that would inevitably result from allowing them to swap experts now.

Plaintiffs fail to show either good cause, or that their untimely request is justified by

excusable neglect. Accordingly, the motion should be denied.

                                   II.     BACKGROUND

       A. Dr. Daniel Tseng

       Plaintiffs’ sole liability expert to date in this medical malpractice case brought under

the Federal Tort Claims Act (FTCA), 28 U.S.C. § 1346 et al., has been Dr. Daniel Tseng,

a general surgeon and foregut specialist. See Doc. No. 1 (complaint attaching expert report

of Dr. Tseng). His opinion sharply criticizes the performance of the VA surgeon in the

case. Liability is hotly contested, and the United States has devoted considerable resources

toward countering Dr. Tseng’s opinions.

       Plaintiffs’ case is exceptionally weak on the merits. All along, that weakness has

been precisely because of Dr. Tseng. He did not draft his own expert report, which sets

forth a medical theory that makes little sense and runs directly counter to both the record

and the VA surgeon’s sworn testimony. Moreover, not only was Dr. Tseng’s principal

theory – that the left gastric artery “must necessarily” have been cut on April 25, 2018 –

untenable from the start, he then refused to retreat from it in the face of a credible


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alternative explanation from the United States’s expert surgeon and the treating physician’s

adamant denial that the theory reflects the reality of what happened.

       Accordingly, both Dr. Tseng’s rebuttal report and his deposition testimony

exacerbated the flaws in Plaintiffs’ case. His deposition, in particular, provided the United

States with literally dozens of admissions and concessions. Dr. Tseng’s demeanor was also

poor, as he became defensive and angry with counsel at several points. For these and other

reasons, the United States has been preparing to move for the exclusion of Dr. Tseng under

Daubert and/or for summary judgment based on the incredible and unconvincing nature of

his expert opinions.

       B. The Legacy letter

       Meanwhile, Dr. Tseng has been in grave professional trouble. After the United

States deposed Dr. Tseng, the undersigned counsel learned that Dr. Tseng had, before the

deposition, lost his clinical privileges at Legacy Good Samaritan Medical Center

(“Legacy”) in Portland, Oregon, one of his principal employers. See generally Doc. No.

127 (declaration accompanying pending motion to compel discovery). The United States

learned this information in a simple and straightforward way. Plaintiffs in another lawsuit

against the United States in the Central District of California, Castillo v. United States,

Case No. 2:22-cv-04390-KS (C.D. Cal.), had also retained Dr. Tseng as an expert. On

March 11, 2024, an Assistant U.S. Attorney assigned to that case informed the undersigned

counsel that Dr. Tseng had produced to the United States a November 8, 2023, letter from

Legacy relating to professional discipline. See Doc. Nos. 127, 128.




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       The undersigned counsel first received a copy of the Legacy letter on March 12,

2024. Id. The letter explains that Legacy’s Medical Executive Committee (MEC) had

“decided to summarily suspend” Dr. Tseng’s clinical privileges “effective immediately,”

and was further recommending revocation of his privileges based on serious patient-care

findings as well as Dr. Tseng’s “lengthy history of behavior issues.” Id. Specifically,

Legacy had concluded its “comprehensive” investigation into two cases of “patient

demise” as well as another case that was also reviewed by Providence St. Vincent, a

different hospital also employing Dr. Tseng. Id. Those particular investigations had begun

in the Spring of 2023, and Dr. Tseng was sent written notice of them on at least May 18,

2023. Id.

       The November 2023 Legacy letter also made clear Dr. Tseng has an “extensive

history” of “prior and ongoing concerns involving [his] professional practice, both at this

hospital and at Providence.” Id. Ultimately, according to the letter, Legacy’s decision to

suspend Dr. Tseng’s privileges was deemed “warranted and necessary to protect the safety

of patients, address quality of care concerns, and ensure the orderly operation of the

hospital.” Id. The Legacy letter also made clear Dr. Tseng had hearing and appeal rights,

and additional proceedings were contemplated. Id.

       During Dr. Tseng’s November 20, 2023 deposition, he made no mention of any

professional discipline issues or the November 8, 2023 Legacy letter. Doc. No. 127 ¶ 2.1


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  The undersigned counsel did not realize until today, August 30, 2024, that Plaintiffs had
in fact provided an updated CV following Dr. Tseng’s deposition that no longer lists
Legacy among the institutions at which he has privileges. The undersigned counsel
apologizes for all mistaken prior statements indicating that no updated CV was provided.

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       C. Efforts by the United States to obtain more information

       Having received the Legacy letter, the United States could have waited until trial to

spring it on Plaintiffs. But rather than pursuing “litigation by ambush,” the United States

instead chose to share the letter with Plaintiffs on April 24, 2024, along with related

discovery requests. Since then, the United States has made extensive efforts to get more

information about Dr. Tseng’s current status at Legacy, including whether or not he has

permanently lost clinical privileges as a result of the investigations and disciplinary

proceedings referenced in the letter. These efforts have included written discovery,

subpoenas, correspondence, and discussions with counsel representing Plaintiffs, Dr.

Tseng, and Legacy. See Doc. Nos. 127-3, 128, 128-1, 128-2, 128-5, 128-6 (exhibits to

pending motion to compel); Doc. 120-7.

       To date, the United States’s efforts have been unsuccessful. For their part, Plaintiffs

staked out a position disclaiming any obligation to provide information about Dr. Tseng in

a May 13, 2024 letter, and in their May 24, 2024 discovery responses. Doc. Nos. 127-1,

128-3, 128-4, 128-7 (exhibits to pending motion to compel). And both Dr. Tseng and

Legacy invoked a supposedly blanket protection against any discovery under Oregon’s

peer-review privilege statute, ORS § 41.675. See, e.g., Doc. 120-8, 120-9. Dr. Tseng’s

invocation of the privilege is currently the subject of a motion to compel Rule 45 subpoena

response in the District of Oregon (under seal), set for a telephonic hearing on August 30,

2024, the same day this response is being filed.




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       D. Plaintiffs’ response to Dr. Tseng’s situation

       Over the four months since receiving the Legacy letter, Plaintiffs have steadfastly

held to the position that they are under no obligation to be aware of developments relating

to professional discipline, loss of clinical privileges, and the like with respect to an expert

witness whose opinion they rely on to accuse a VA surgeon of committing negligent acts.

Plaintiffs repeatedly claimed to be unable to provide any information about Dr. Tseng’s

situation because they lack “firsthand knowledge” about it. Doc. No. 127-1. In response,

the United States reminded Plaintiffs of their responsibility under Rule 26 to provide

information about their experts’ qualifications, including the duty to update such

information should it change in material ways. Doc. No. 128-6. For example, the United

States sent Plaintiffs a letter to this effect on July 12, 2024, id., and copied Plaintiffs’

counsel on letters to Dr. Tseng and Legacy the next day citing caselaw to the effect that a

state-law medical review privilege cannot overcome federal discovery obligations. See

August 30, 2024 Declaration of David Fuller (“Fuller Decl.”), Ex. C, D.

       Plaintiffs emailed the undersigned counsel on July 23, 2024 – more than a week

before Dr. Tseng’s supposedly unexpected withdrawal – suggesting the United States agree

to allow them to substitute in a different expert. Doc. 120-12. To this day, Plaintiffs have

still provided no substantive information about Dr. Tseng’s situation at Legacy since the

time of his deposition last November.

       In the face of all this, Plaintiffs now contend they were caught by surprise when Dr.

Tseng informed them in early August (four months after counsel for the United States

provided them with a copy of the November 2023 Legacy letter) that he would be


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withdrawing from this matter. This strains credulity. Apart from a single one-sentence

email from Dr. Tseng’s counsel and a cursory summary by Plaintiffs’ counsel, no evidence

has been provided on any communications between Plaintiffs and Dr. Tseng since the

United States provided the Legacy letter in April. Accordingly, much remains unknown

about the true circumstances that led to Plaintiffs’ current motion. Taking Plaintiffs’

version of events at face value, it would appear that Dr. Tseng’s reason for withdrawing

amounts to a desire to protect his professional reputation, premised on the possibility that

the United States will prevail in its efforts to compel discovery related to the Legacy letter.

       Be that as it may, Plaintiffs have also reported that Dr. Tseng has not “recanted” his

previous opinion and they intend to continue relying on that opinion to prove liability

unless and until they are given leave to substitute in a new expert. Fuller Decl. Ex. E.

                                     III.     ARGUMENT

   A. Legal standard

       Plaintiffs cite the wrong standard for determining whether to grant their

extraordinary request. While they discuss only “good cause,” in fact they must also show

“excusable neglect.” The reason is that Plaintiffs are asking the Court to let them take

action – disclose a new and different liability expert – long after the deadline for doing so

has passed. Where that is the case, Rule 6(b)(1)(B) applies. Under that rule:

       When an act may or must be done within a specified time, the court may, for good
       cause, extend the time:
              . . . (B) on motion made after the time has expired if the party failed to act
              because of excusable neglect.

Fed. R. Civ. P. 6(b)(1) (emphases added).



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       “Whether a party’s neglect of a deadline is excusable is at bottom an equitable

inquiry.” Spirit Lake Tribe v. Jaeger, 5 F.4th 849, 854 (8th Cir 2021) (quoting Pioneer

Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S. 380, 395 (1993)). Many courts

considering whether to allow a party to swap experts past the disclosure deadline have

applied this standard. See, e.g., Greencity Demo, LLC v. Wood Envir. & Infrastructure

Sol’ns, Inc., 2022 WL 17553026, *2 (W.D. Ky. Dec. 9, 2022) (“Yet if the time to act has

expired, the party must file a motion establishing that it failed to act because of excusable

neglect.”); Miesen v Henderson, 2022 WL 392931, *2 (D. Idaho Feb. 9, 2022) (“Moreover,

because Miesen filed this motion after the time had passed to disclose expert witnesses,

Rule 6(b)(1) also applies, which adds that not only must there be ‘good cause’ to modify a

scheduling order, but there must also be ‘excusable neglect.’”); Leibel v. NCL (Bahamas)

Ltd., 185 F.Fupp.3d 1354, 1358 (S.D. Fla. 2016) (“Finally, the Court finds that even if good

cause existed for a modification of the scheduling order, the Plaintiff has not demonstrated

excusable neglect.”).2

       Moreover, even “good cause” is a far more demanding standard than Plaintiffs

suggest. “The good cause standard is an exacting one, and requires a demonstration that

the Scheduling Order cannot reasonably be met despite the diligence of the party seeking

the extension.” E.E.O.C. v. Hibbing Taconite Co., 266 F.R.D. 260, 265 (D. Minn. 2009)




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  Marmo v. Tyson Fresh Meats, Inc., 457 F.3d 748 (8th Cir. 2006), is not to the contrary.
The decision did not consider whether the excusable-neglect standard should apply, and
addressed a unique situation involving “re-designation” of a previously-disclosed rebuttal
expert as a primary witness. See id. at 759-60.

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(internal quotations omitted). Target Corp. v. LCH Pavement Consultants, LLC, 960 F.

Supp. 2d 999, 1004 (D. Minn. 2013) (describing good-cause standard as “tough[]”).

   B. Plaintiffs have shown neither excusable neglect nor good cause.

       In order to obtain the extraordinary relief they seek, Plaintiffs must show both good

cause and that their untimely request resulted from excusable neglect. Because they have

shown neither, the Court should deny their motion.

       1. Plaintiffs cannot establish excusable neglect.

       Factors considered in determining whether excusable neglect exists are well-settled.

“Relevant considerations include the danger of prejudice to the opposing party, the length

of the delay, the reason for the delay, and whether the movant acted in good faith.” Spirit

Lake Tribe, 5 F4th at 854. “Both Rule 6(b) and the case authorities make clear that the

showing needed to extend a pretrial deadline is more onerous the later in the case it is made,

and particularly so if made after a deadline passes.” Savage v. City of Twin Falls, 2015

WL 12681319, *7 (D. Idaho Jan. 20, 2015) (quoted by Miesen, 2022 WL 392931, at *2).

In determining whether excusable neglect exists, courts consider “all pertinent

circumstances.” Harris Corp. v. Ruckus Wireless, Inc., 2015 WL 3883948, *6 (M.D. Fla.

June 24 2015).

       At bottom, excusable neglect is an equitable inquiry, Spirit Lake Tribe, 5 F.4th at

854, and here, the equities do not weigh in Plaintiffs’ favor. Accordingly, they cannot

demonstrate that their request to name a replacement expert at this late phase of the case is

the result of excusable neglect.




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          a. Allowing Plaintiffs to swap experts would seriously prejudice the United
             States.

       This case has been going on for years. From the start, Plaintiffs’ malpractice claims

have been founded squarely on the medical opinions of Dr. Tseng. Any new liability expert

they might find to replace him would necessarily improve their case. For that and many

other reasons, at this point there is simply no way to avoid serious prejudice to the United

States if Plaintiffs are allowed to switch experts. See, e.g., Marmo v. Tyson Fresh Meats,

Inc., 457 F.3d 748, 759-60 (8th Cir. 2006) (opposing party “would have suffered significant

prejudice” if district court had allowed for different expert “two years after the deadline to

disclose primary witnesses”; party had “based its litigation strategy on the initial disclosure

of primary experts, . . . selected its own expert witnesses and developed motion and trial

strategies based on that expert witness evidence”); Fagen, Inc. v. Exergy Devp’t Group of

Idaho, LLC, 2016 WL 2885958, *3 (D. Minn. May 17, 2016) (allowing for new expert

“would result in substantial prejudice” because “a modification at this stage would, for all

intents and purposes, restart expert discovery, even though the case has languished in

discovery for approximately two years”).

       If Plaintiffs’ request is granted, the United States’s ability to defend the case will be

greatly harmed, and the resulting delay will further prejudice the United States in other

ways. While imposing certain restrictions – such as requiring Plaintiffs to submit an

affidavit certifying that they did not provide Defendant’s expert reports to their new expert

prior to that expert providing an opinion – could ameliorate the prejudice somewhat,

prejudice cannot be eliminated or avoided.



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              i. Prejudice to the ability to defend the case

       From day one, the United States’s entire liability defense has necessarily entailed

responding to Dr. Tseng’s opinion. Indeed, the United States “selected its own expert

witness[]” and has all along been “develop[ing] motion and trial strategies based on” Dr.

Tseng’s opinions and testimony in the case. Marmo, 457 F.3d at 760; see also id. (“To

cure the prejudice in allowing Dr. Meggs to testify as a primary witness, the district court

would have had to re-progress the case and practically start anew.”); Leibel, 185 F.Supp.3d

at 1358 n.7 (noting defendant “would suffer prejudice” if plaintiff were allowed to swap

experts, in part because “both the parties and the Court have an important interest in the

reliability of scheduling order deadlines”); Miesen, 2022 WL 392931, at *3 (“Additionally,

substituting in a new expert would add significant and unjustifiable delay.”).

       For nearly three years, multiple attorneys and other employees within the U.S.

Departments of Justice and Veterans Affairs have devoted untold hours to developing and

pursuing the United States’s litigation strategy. The United States also engaged its own

liability expert to help analyze, understand, and generally defend against Dr. Tseng’s

attacks on the skills and reputation of an excellent VA surgeon. To date, the United States

has paid that expert over $35,000. See Fuller Decl. ¶ 2. Additionally, the United States

prepared for and took Dr. Tseng’s deposition, extracting dozens of statements from him

that will be most helpful in defending the case going forward. Plaintiffs try to minimize

the effects of switching to a new and different expert, suggesting such prejudice is far

outweighed by the prejudice to them from not having a liability expert. But the prejudice

to the United States is very real.


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       Numerous courts considering motions like this one, where much time and effort

have already gone into litigating the case, have given great weight to the “significant

prejudice” the nonmoving party would inevitably experience. Marmo, 457 F.3d at 760;

see also Fagen, Inc. v. Exergy Devp’t Group of Idaho, LLC, 2016 WL 2885958, *3 (D.

Minn. May 17, 2016) (denying substitution, in part because “a modification of the

scheduling order would result in substantial prejudice” by requiring parties to, “in essence,

restart expert discovery”); Smith v. Reynolds Transport Co., 2013 WL 247714, *3 (D. S.C.

Jan. 23, 2013) (denying substitution where “reopen[ing] discovery at this late date would .

. . entail significant prejudice both to Defendants and the administration of justice”);

GreenCity Demo, LLC v. Wood Environment & Infrastructure Soln’s, Inc., 2022 WL

17553026, *3 (W.D. Ky. Dec. 9, 2022) (denying substitution, and noting even “small

delays have significant impacts”); Fidelity Nat’l Financial, Inc. v. Nat’l Union Fire Ins.

Co. of Pittsburgh, 308 F.R.D. 649, 655 (S.D. Cal. 2015) (denying motion to substitute

where expert had heart attack; “this Court also finds that FNF has demonstrated that it

would be significantly prejudiced by NU’s designation of a new expert at this late stage in

the litigation.”); Doctor’s Assocs., Inc. v. QIP Holder LLC, 2009 WL 5184404, *5 (D.

Conn. Dec. 23, 2009) (Doc. No. 120-20) (granting motion, but noting “the practical result

of the substitution is to put [the defendant] in a significantly worse position than it would

have been otherwise.”); Cardiac Science v. Koninklijke Philiips Electronics, N.V. No. 03-

1064 (DWF/FLE), 2006 WL 3836137, *4 (D. Minn. Dec. 22, 2006) (granting motion but

addressing “the inevitable prejudice . . . caused by the substitution”).




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       Courts are especially attuned to situations like this one, where allowing a party to

swap experts would create a tactical advantage by improving the party’s position in the

case. Miesen v. Henderson, No. 1:10-cv-00404-DCN, 2022 WL 392931, *3 (D. Idaho Feb.

9, 2022) (denying motion to swap experts following exclusion of party’s “only case-in-

chief expert witness” where party claimed to be “satisfied” with prior expert but court

found party was “not satisfied having an excluded expert witness”; circumstances did not

justify “resetting the clock so [party] can have another shot at getting a better witness”)

Leibel v. NCL (Bahamas) Ltd., 185 F.Supp.3d 1354, 1355, 1358 (S.D. Fla. 2016) (denying

request to swap out “Plaintiff’s only designated medical expert” who “was not a viable

medical expert”); Fidelity Nat’l Financial, Inc. v. Nat’l Union Fire Ins. Co. of Pittsburgh,

308 F.R.D. 649, 653 (S.D. Cal. 2015) (denying substitution where expert had heart attack;

rejecting party’s argument “that it does not seek a better expert, but simply an equal

substitute”); id. at 655 (noting concern to avoid allowing party “to gain a windfall

advantage by substituting a ‘new and better expert’”); U.S. ex rel. Agate Steel, Inc. v.

Jaynes Corp., 2015 WL 1546717, *2 (D. Nev. April 6, 2015) (“The purpose of allowing

substitution of an expert . . . is not an opportunity to designate a better expert.”); Crandall

v. Hartford Cas. Ins. Co., 2012 WL 6086598, *3 (D. Idaho Dec. 6, 2012) (“Plaintiff’s

request closely resembles a case of ‘buyer’s remorse.’ Simply put, Plaintiff regrets hiring

Mr. Dawson. . . . A party’s dissatisfaction with their expert’s opinions and/or an expert’s

lack of regular and timely communication is an unfortunate circumstance, to be sure.

However, it cannot serve to re-calibrate the litigation (at the Court’s and Defendant’s

expense)”); Taylor v. Dean, 2007 WL 7622152, *1 (M.D. Fla. Jan. 19, 2007) (disallowing


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substitution where expert “turned out to be an ineffective witness for Plaintiff”); id. at *6

(rejecting plaintiff’s “attempt to belatedly revamp his case with another and possibly better

expert witness”).

              ii. Prejudice resulting from prolonging the litigation

       Beyond making the lawsuit far harder to defend, allowing a replacement expert will

prejudice the United States in other ways. These other forms of prejudice are ongoing, and

they increase the longer this lawsuit drags on. For example, in order to adequately defend

the case, counsel for the United States (within both DOJ and the VA) must coordinate with

numerous VA employees, conducting fact interviews, gathering and analyzing documents

and information, preparing for depositions, and much more.            This all represents a

substantial drain on government resources, and it will continue until the case is finally

resolved.

       Then there is the VA surgeon accused of violating the standard of care – the key

government employee affected by the litigation.          Research shows that physicians

experience great stress as a result of being named in a malpractice suit. Indeed, one study

indicates over 95% of physicians who were sued report the litigation “had a major

psychological and/or physical effect on them,” and about 25% “report that it was the most

stressful occurrence of their lives.” Catastrophic cardiovascular complications from

medical malpractice stress syndrome, Journal of Neurosurgery 130:2081 (June 2019),

Fuller Decl. Ex. F. This has been labeled medical malpractice stress syndrome (MMSS),

and is seen as “akin to posttraumatic stress disorder.” Id. Doctors may experience

malpractice allegations as “an assault on their integrity and a true existential threat,”


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leading to new physical problems as a result of being “overwhelmed with acute and severe

mental stress.” Id.

       Another study of surgeons accused in malpractice cases confirmed the experience

“can precipitate profound distress,” including emotional exhaustion, burnout, and reduced

career satisfaction, and is generally an “occupational risk factor that can adversely impact

surgeons’ personal health.” Personal Consequences of Malpractice Lawsuits on American

Surgeons, Journal of the American College of Surgeons Vol. 213, No. 5 (November 2011),

Fuller Decl. Ex. G.

       Such ongoing impacts to the experience of a federal-government surgeon constitute

another form of prejudice to the United States from prolonging the case as a result of

allowing Plaintiffs to substitute in a new expert at this time.

                      iii. The prejudice cannot be fully mitigated.

       Recognizing the inevitable prejudice to the United States from allowing them to

switch experts, Plaintiffs promise to “ensur[e] that any replacement expert’s opinions are

consistent with Dr. Tseng’s prior stated opinions and testimony.” Doc. No. 119, at 11.3 It

is hard to understand how they could make such a pledge under any circumstances – and

especially if Plaintiffs truly did only identify a potential replacement expert as of Dr.

Tseng’s apparent withdrawal decision, the very week they filed their motion. What expert




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  See id. at 2 (Plaintiffs “have undertaken that the replacement expert’s opinion would be
consistent with Dr. Tseng’s opinions so that the scope of the case would be essentially
unchanged.”).

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could so quickly assess the state of the evidence and provide Plaintiffs with an assurance

of that sort?

       The assurance is also problematic on its face. Which iteration of Dr. Tseng’s many

updated opinions in the case will the new expert’s opinion be consistent with? Dr. Tseng

has been involved since 2019, and has signed numerous versions of his opinion (including

a rebuttal report), before also giving extensive deposition testimony. None of those have

been identical, and some have reflected changes on important issues. Furthermore, will

the new expert opine in a manner fully consistent with Dr. Tseng’s deposition – including

his unwillingness to back down from a weak liability theory in the face of conflicting

testimony from the VA surgeon and a plausible alternative explanation from the United

States’s expert? Plaintiffs’ promise of consistency raises more questions than it answers,

and will no doubt generate new litigation disputes.

       Be that as it may, any new liability expert Plaintiffs may proffer would not be Dr.

Tseng. The new expert will bring his or her own professional history, experience, and

perspective to bear on the issues in this case. Plaintiffs acknowledge the United States

“will have to adjust its defense somewhat,” but attribute such a “minor inconvenience” to

the mere need “to deal with a new personality.” Doc. No. 119 at 16. This completely

mischaracterizes the situation. An expert’s personality is not what matters – rather, what

counts is the expert’s analysis, reasoning, and basis for reaching the conclusions at issue.

And all this must be understood against the backdrop of the expert’s particular skills,

credentials, and professional history.




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       Therefore, even assuming a replacement expert were to reach opinions “consistent

with” Dr. Tseng’s, the United States would require considerable time, and need to expend

substantial resources, in order to adequately understand, analyze, and credibly critique the

opinions of the new expert. See, e.g., Marmo, 457 F.3d at 760 (in order to fairly allow

substitution, “the district court would have had to re-progress the case and practically start

anew.”); Miesen, 2022 WL 392931, at *2 (rejecting motion to replace experts even though

moving party proposed that “the substitute expert would be limited to using whichever

opinions he or she agrees with which are contained within [the prior expert’s] report and

by deleting any objectionable content”); Harrison v. United States, 2021 WL 1269119, *10

(D. Alaska April 6, 2021) (“Expert discovery as it pertains to the new expert shall be

reopened.”); Fagen, Inc. v. Exergy Devp’t Group of Idaho, LLC, 2016 WL 2885958, *3

(D. Minn. May 17, 2016) (if substitution of expert were allowed, the necessary scheduling

“modification at this stage would, for all intents and purposes, restart expert discovery,

even though the case has languished in discovery for approximately two years”).4




4
   See also Doctor’s Assocs., Inc. v. QIP Holder LLC, 2009 WL 5184404, *4 (D. Conn.
Dec. 23, 2009) (Doc. No. 120-20) (“Therefore, the Plaintiff essentially seeks an
enlargement of the discovery period in order to conduct expert discovery anew.”); Taylor
v. Dean, 2007 WL 7622152, *5 (M.D. Fla. Jan. 19, 2007) (“Not only would the Defendants
need to depose Mr. Levine, but they would most likely need to either obtain an additional
expert or at a minimum have their existing expert prepare another expert report.”);
Chrisman v. RMH Franchise Holdings, No. 5:16-cv-6144-DGK, 2018 WL 401819, *2
(W.D. Mo. Jan. 12, 2018) (allowing substitution of expert who “withdrew because of
illness,” but amending scheduling order to allow defendant to “designate additional, or
alternate, expert witnesses”).


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        That is why even several of the cases Plaintiffs cite impose significant restrictions

on a replacement expert beyond the sort of assurance Plaintiffs offer here. For example, in

Cardiac Science v. Koninklijke Philiips Electronics, N.V. No. 03-1064 (DWF/FLN), 2006

WL 3836137, *3-5 (D. Minn. Dec. 22, 2006), Judge Frank allowed substitution where an

expert withdrew in part because of “recent personal tragedies,” id. at *2, but imposed

conditions such as (1) not permitting the new expert to “testify in any manner that is

contrary to or inconsistent with” the prior expert; (2) allowing the other party to depose the

new expert for up to two days, with the substituting party to pay “travel costs (if any), and

the attorney fees incurred preparing for and taking” the deposition; and (3) providing that

the prior expert’s “deposition testimony may be used for impeachment purposes at trial.”

Id. at *4.5 And the court in Chrisman v. RMH Franchise Holdings, No. 5:16-cv-6144-

DGK, 2018 WL 401819, *2 (W.D. Mo. Jan. 12, 2018), where the expert “unexpectedly

became seriously ill” and would be “unavailable to testify,” took the step many courts

allowing substitution take, of allowing the other party to “designate additional, or alternate,

expert witnesses.” Finally, in Doctor’s Assocs., Inc. v. QIP Holder LLC, 2009 WL

5184404, *1, *5 (D. Conn. Dec. 23, 2009) (Doc. No. 120-20), the court ordered the new

expert’s “testimony at trial . . . limited to establishing the veracity and integrity of [the prior

expert] and the conclusions reached in [the prior expert’s] original expert report.” As




5
 See also Morel v. Daimler-Chrysler Corp., 259 F.R.D. 17, 22 (D. P.R. 2009) (allowing
substitution for deceased expert, but noting other party “will be able to challenge [the new
expert’s] testimony with the transcript of [the prior expert’s] deposition”).

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shown by these decisions Plaintiffs themselves cite, such restrictions are justified and

appropriate in the event that the Court grants Plaintiffs’ motion.

       To preserve at least a modicum of fairness, other courts have imposed sensible

restrictions like: (1) prohibiting the substituting party from “disclos[ing] or discuss[ing]”

the other party’s “expert reports with [the] new standard-of-care expert until [the

substituting party] has served that new expert’s report on” the other party, Harrison v.

United States, 2021 WL 1269119, *10 (D. Alaska April 6, 2021); (2) requiring the

substituting party to “pay the costs [the other party] has incurred with regard to” the prior

expert, id., and (3) requiring the new expert to simply “adopt the initial and rebuttal expert

reports of [the prior expert] in their entirety,” such that the new expert’s “opinions and

theories shall be limited to those expressed in [the prior expert’s] reports,” Park v. CAS

Enterprises, Inc., 2009 WL 4057888, *4 (S.D. Cal. Nov. 19, 2009).6 Yet even efforts of

this sort could never fully eliminate the prejudice.

       Plaintiffs’ other attempt to minimize prejudice – offering to “pay for the reasonable

costs of the Government having to depose the replacement expert,” Doc. No. 119 at 2 –

also falls short. For one thing, the offer is essentially illusory, as the agreed-upon protocol

in this case already has been that each side pays for its own experts’ time to sit for a

deposition. See Fuller Decl. Ex. A (email exchange between counsel reflecting this

agreement before expert depositions commenced). More importantly, though, the offer

entirely fails to recognize the tremendous resources the United States has already devoted


6
  See also Fidelity Nat. Financial, Inc., 308 F.R.D. at 656 (citing Park, and referencing
concept of a “’stand-in’ live witness” at trial).

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to defending the case, which has been squarely based on Dr. Tseng from day one. This has

taken many forms.

       Consider just two examples – the reports and testimony of Dr. Jeff Friedman, the

United States’s own liability expert, and the deposition of Dr. Tseng. For his part, Dr.

Friedman did an independent review of the thousands of pages of medical records from the

VA and the University of Minnesota, before drafting his own report responding to the

theories of Dr. Tseng. Dr. Friedman later produced a supplemental report after realizing

he had not in fact seen a substantial portion of the U of M records. His report was in direct

response to Dr. Tseng’s opinions. Plaintiffs later took Dr. Friedman’s deposition. For his

considerable work on the case to date, the United States has paid $35,250.00 to Dr.

Friedman. See Fuller Decl. ¶ 2. At the very least, if Plaintiffs are allowed to switch to a

different expert now, they should be made to reimburse the United States for this cost. See,

e.g., Harrison, 2021 WL 1269119, at *10; Enborg, 2022 WL 1300569, at *3

(distinguishing Belmont Corp. v. Shell Oil Co., 1998 WL 242686 (N.D. Cal. May 12,

1998), where party “agreed to reimburse defendant for time spent reviewing and

responding to the original expert’s report”); Plum v. Neschis, 2007 WL 5256966, * (S.D.

N.Y. Oct. 23, 2007) (“In addition, if Plaintiffs choose to substitute new experts to replace

Dr. Plum, they should pay the expert costs and fees incurred by Defendants to date – both

in preparing to depose Dr. Plum and in procuring rebuttal expert reports.”); Sithon

Maritime Co. v. Holiday Mansion, 1998 WL 433931, *1 (D. Kan. July 30, 1998) (requiring

plaintiff “as a condition of the substitution to reimburse defendant . . . $18,500 as

reasonable expense attributable to the review and critique of the report of” the prior expert)


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       Another key question implicating prejudice, in the wake of all this, is whether

Plaintiffs’ new expert will be allowed to learn about Dr. Friedman’s opinions and testimony

before drafting the new opinion and testifying in the case. If so, then it would seem

Plaintiffs have, by swapping experts toward the end of the discovery period, greatly

improved their litigation position by virtue of sheer timing, if nothing else. Have Plaintiffs’

counsel already shared Dr. Friedman’s opinions and testimony with their newfound expert?

If so, that alone should be a basis to prohibit them from working with that expert in the

circumstances. See, e.g., Harrison, 2021 WL 1269119, at *10 (“Plaintiff shall not disclose

or discuss defendant’s expert reports with her new standard-of-care expert until she has

served that new expert’s report on defendant.”); Fidelity Nat. Fin., Inc. v. Nat. Union Fire

Ins. Co., 308 F.R.D. 649, 654 (noting concern that new expert’s opinion may be “shaped

by knowledge of the parties’ arguments”).

       As for Dr. Tseng’s November 20, 2023 deposition, he made dozens of statements

under oath that are helpful to the United States’s case. Since that time, in contemplating

summary judgment and trial, and in formulating its strategic approach to discovery issues,

the United States has relied heavily on many of the answers Dr. Tseng gave at his

deposition. For example, Dr. Tseng admitted that he did not draft his own report – it was

drafted by lawyers – and even adamantly insisted one of the diagrams in his report was

“not representative . . . at all” of the anatomical situation in the case, and that his report’s

diagram was “absolutely not true” – all strongly underscoring that the report was

ghostwritten for him. Fuller Decl. Ex. B (deposition excerpts).




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       Sharing more such examples of testimony helpful to the United States would reveal

work product and itself risk further prejudice. But suffice it to say that Dr. Tseng’s

deposition has affected major litigation inflection points ever since, such as how the United

States chose to respond to Plaintiffs’ 30(b)(6) deposition notice served a week later on

November 28, 2023 – including which topics to oppose and how strongly, how to approach

negotiating many of the topics, which witnesses to designate to testify on behalf of the

United States, how to work with those witnesses in preparation, and so forth. See Doc.

Nos. 49-1, 48 (deposition notice and related motion). And again, that is just one example

of how Dr. Tseng’s deposition testimony has greatly affected the shape of the litigation.

       Therefore, one important question for prejudice purposes is whether Plaintiffs will

continue to be bound by concessions and other statements made by Dr. Tseng at his

deposition that are or may prove adverse to their case. If not, and Plaintiffs are given a

clean slate to start afresh with a new expert (albeit limited to offering opinions “consistent

with” those of Dr. Tseng), then will the United States be allowed to reconsider and revisit

its strategic litigation choices made along the way in reliance on things Dr. Tseng did or

did not say at his deposition? These are not easy questions, but the United States

respectfully submits that they must be addressed in any true effort to mitigate the

unavoidable prejudice from allowing Plaintiffs to swap in a new expert for Dr. Tseng at

this late phase of the case. See, e.g., Doctor’s Assocs., Inc., 2009 WL 5184404, at *3

(reviewing evidence, and noting specific differences between original expert’s report and

new expert’s report).




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           b. The length of the delay weighs against allowing Plaintiffs to swap
              experts.

       As Plaintiffs admit, Doc. 119 at 3, the deadline they wish to extend – for them to

disclose expert reports – passed nearly two years ago, on September 30, 2022. Doc. No.

16. Because that is a very long time, this factor weighs against any finding of excusable

neglect.

       Of course, had Dr. Tseng withdrawn from the case in May of 2023, when Legacy

informed him of a serious investigation and proposed suspension of privileges, the current

situation could have been avoided altogether. But even if the delay is measured from the

time Plaintiffs say they first learned Dr. Tseng was facing serious professional issues going

to the heart of his qualifications and credibility – when the United States sent them the

Legacy letter and related discovery on April 24, 2024 – that delay of well over three months

would likewise weigh against excusing their neglect. See, e.g., Leibel, 185 F.Supp.3d at

1357 (“Plaintiff cannot demonstrate good cause for why she waited from February 8, 2016

to April 11, 2016 to seek substitution when she knew Dr. Wilkerson was not a viable

medical expert on February 8th.”).

       Plaintiffs hope the Court will only measure their delay from Dr. Tseng’s apparent

decision to withdraw. But that is not the best measure, as Plaintiffs by their own admission

knew as of April 24, 2024 that their key liability expert was facing serious investigations

and had already lost his privileges at Legacy. By failing to take immediate steps, Plaintiffs

chose to gamble that the Legacy letter would not materialize into admissible evidence that

could be used to challenge Dr. Tseng’s credibility and professional credentials. See, e.g.,



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Fagen, 2016 WL 2885958, at *3 (denying request to substitute experts where party “failed

to do anything for almost two weeks (and perhaps more),” “chose to ignore [their expert’s]

warnings,” and thus “fail[ed] to take prompt remedial action”); Smith, 2013 WL 247715,

at *2 (denying substitution where party “fail[ed] to seek an extension of the relevant

deadlines when they first learned of possible problems with [expert’s] willingness or ability

to give expert testimony”) (emphasis added); Crandall, 2012 WL 6086598, at *2 (finding

plaintiff failed to show good cause where he took a “blind, ‘wait and see’ approach” by not

seeking to substitute experts until defendant threatened to move for summary judgment);

       Accordingly, this factor does not support a finding of excusable neglect.

          c. Plaintiffs have not adequately explained the reason for their delay.

       Whether considering excusable neglect or good cause, the Court’s inquiry “revolves

around the moving party’s reasons for seeking modification.” Miesen, 2022 WL 392931,

at *3 (cleaned up). Plaintiffs suggest the sole reason for their request to switch experts is

that Dr. Tseng “recently and unexpectedly announced that he is withdrawing as an expert

in the case.” Doc. 119 at 1. They explain that his reason for doing so was the threat by the

United States to move to compel compliance with its document subpoena relating to the

Legacy letter and surrounding circumstances. Id. According to Plaintiffs, this is a

circumstance totally outside their control.

       The Court should not credit this simplistic version of events. The only evidence

from Dr. Tseng Plaintiffs have provided is a one-sentence email from his counsel that

simply states, “After further discussion with Dr. Tseng, he will be standing by his decision

to withdraw as serving as an expert in this matter.” Doc. 120-14. Plaintiffs also submit a


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declaration from their counsel Matt Woods, explaining that this email “reflects the

culmination of several communications between myself and [Dr. Tseng’s lawyer] Ms.

Wynn Decker regarding Dr. Tseng’s status.” Doc. 120 ¶ 16. Mr. Woods goes on to state

that he was informed by Dr. Tseng’s separate counsel that his reason for wanting to

withdraw was “the continuing dispute over the peer review privilege,” and the fact that the

United States had indicated it would soon be filing a motion to compel. Id. According to

Mr. Woods, counsel’s one-sentence email “reflects Dr. Tseng’s final answer” after

Plaintiffs “ask[ed] Dr. Tseng to reconsider” his decision to withdraw “under all the

circumstances, given his commitment to the Andersons.” Id.

       This threadbare story is not enough to support the extraordinary relief Plaintiffs

seek, which has massive implications for the entire case. The United States respectfully

submits the Court should require considerably more evidence than Plaintiffs have provided,

and make a probing inquiry, before even entertaining their request to switch experts at this

phase of the lawsuit. For example, the Court should consider probing:

          • Plaintiffs’ contractual relationship with Dr. Tseng – to understand the

              implications of his apparent decision to withdraw, and what rights or

              leverage Plaintiffs had or still have in this situation with respect to the expert

              on whose opinion they have relied for so long;

          • All communications Plaintiffs’ counsel had with Dr. Tseng between the time

              the United States shared the Legacy letter with them in April 2024 and the

              time Dr. Tseng’s counsel notified them of his decision to withdraw in August

              2024;


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           • All efforts by Plaintiffs to learn more about the apparent “dispute” between

              Dr. Tseng and Legacy Health;

           • The nature and timing of Plaintiffs first becoming aware Dr. Tseng’s

              withdrawal was a possibility;

           • The nature and timing of Plaintiffs’ interactions with potential new experts

              to replace Dr. Tseng, including the extent to which any such new expert is

              aware of the opinions or testimony of Dr. Friedman, or the testimony of the

              VA surgeon accused of malpractice, Dr. Archana Ramaswamy.

Knowing much more about these areas, and others like them, would seem most helpful in

understanding the true reasons for Plaintiffs’ delay. See, e.g., Enborg, 2022 WL 1300569,

at *4 (questioning reasons offered for requested substitution; “These explanations strike

the Court as problematically vague, unsubstantiated and inconsistent”); Fidelity Nat.

Financial, Inc., 308 F.R.D. at 655 (denying substitution; “NU’s counsel has provided no

declaration establishing that these facts are true”).

       In sum, Plaintiffs have not yet shown a good reason for their delay, and this factor

should therefore count against them.

           d. Plaintiffs have not filed their motion in good faith.

       When the United States chose in April 2024 to share with Plaintiffs the concerning

information it had received about Dr. Tseng, and made clear it was interested in learning

more about the situation, Plaintiffs could have taken any number of approaches. They knew

then that their expert was in serious trouble and, if not subject to outright disqualification,

may not prove credible as a witness. They could have immediately notified the Court of

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their predicament and sought leave to substitute in a new expert at that time. But they did

not.

         Plaintiffs also could have taken seriously their obligations under Rule 26 to timely

supplement their expert disclosures, insisting that the expert they had hired and worked

with for years provide critical information about his current professional credentials and

standing. Yet, there is no evidence of any efforts by Plaintiffs to learn anything about Dr.

Tseng’s situation, to enforce their contract with him, or of any communications between

Plaintiffs’ counsel and counsel for Dr. Tseng or Legacy in the four months following the

April 2024 disclosure. It is thus far from clear what, if anything, Plaintiffs have done since

then to better understand the situation they find themselves in when it comes to Dr. Tseng.

         Rather, Plaintiffs have simply told the United States, and now represent to this

Court, that they “defer” to Dr. Tseng and Legacy as to privilege questions, and consider

the Legacy letter to reflect a mere “private dispute regarding internal patient care,” wholly

“unrelated to the facts of this case.” Doc. 119 at 1, 10. At the same time, while purporting

to defer to others and insisting they have “no first-hand knowledge” about the challenges

faced by Dr. Tseng, Doc. No. 127-1 at 1, Plaintiffs believed they knew enough to invoke

peer-review privilege in response to the United States’s discovery requests. Doc. No. 128-

3 to 128-4, 128-7 (exhibits included with pending motion to compel).

         The Legacy letter is no mere private dispute. In the context of this very public case,

where Plaintiffs have squarely put Dr. Tseng forward to accuse a highly qualified federal-

government surgeon of violating the standard of care, the Legacy letter is crucial evidence




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of Dr. Tseng’s professional skills and qualifications that supposedly entitle him to level

such a charge.

       While Dr. Tseng’s thought process in deciding to produce the letter to the United

States in the California case is unknown, he was actually correct to do so. Plaintiffs insist

the United States’s pending motions to compel (in this Court and in the District of Oregon)

amount to an attempt to invade privilege, but as the authorities cited in those motions show,

no such state-law privilege exists in federal court. Therefore, the letter and related

documents and information are rightfully subject to discovery.

       All this has put the United States in the difficult position of having to fight (so far

unsuccessfully) on multiple fronts in order to learn the most basic information about the

serious professional challenges faced by Plaintiffs’ liability expert. Plaintiffs’ May 13,

2024 letter sent shortly after the United States served its discovery on them disclaimed any

obligation to know or learn about their own expert’s apparent loss of privileges, and –

without disclosing that he was represented by separate counsel – suggested the United

States should subpoena Dr. Tseng. See Doc. 127-1 to 127-3, 128-6 (exhibits to pending

motion to compel discovery).

       In support of their current motion seeking to swap experts, Plaintiffs omit: (1) their

May 13, 2024 letter; (2) their discovery responses invoking privilege (not included

supposedly “due to size/length,” Doc. 120 ¶ 10); and (3) the United States’s July 12 letter

to them (to which they never responded) asking them to justify under Rule 26 their “see no

evil” posture concerning their own expert. See Doc. Nos. 127-1, 128-3, 128-4, and 128-6

(exhibits to pending motion to compel discovery). These omissions deflect attention from


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Plaintiffs’ own role and litigation choices in connection with the Legacy letter and the

United States’s so-far-unsuccessful attempts to learn more about the qualifications of

Plaintiffs’ expert. Plaintiffs thus present an incomplete narrative as the basis for this

motion.

          This is not the first time Plaintiffs have come before this Court seeking extraordinary

relief on the basis of an incomplete narrative. The last time they belatedly sought to amend

the case schedule – to allow for an amended complaint exceeding the sum certain sought

in their administrative FTCA claim – the United States had to expend much time and effort

in explaining the full story. See Doc. 70 at 14-15 (United States response to motion,

summarizing key facts omitted by Plaintiffs). Plaintiffs eventually withdrew that motion,

but it seems to reflect an unfortunate pattern.

          Accordingly, Plaintiffs have not shown good faith in filing the current motion. This

element should not weigh in their favor for excusable-neglect purposes.

          2. Plaintiffs have not shown diligence, and thus cannot establish good cause.

          Plaintiffs “argue that [they were] diligent because [their] expert only recently quit

and that his reasons for doing so were outside of [their] control.               However, this

representation vastly oversimplifies the facts and procedural posture of this case.” Leibel,

185 F.Supp.3d at 1356.

          For reasons made clear in the Background section, as well as the discussions at

sections III.B.1.b-d above, Plaintiffs failed to demonstrate diligence in this matter at many

points.      Their motion emphasizes their diligence following Dr. Tseng’s apparent




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communication of his final decision to withdraw on August 6, 2024. The United States

does not question Plaintiffs’ diligence since that time.

       Rather, Plaintiffs repeatedly failed to take reasonable steps during the four months

that followed the April 2024 disclosure, which could and would have ameliorated the

current situation. For example, Plaintiffs could have immediately notified the Court that

their expert was facing serious professional issues and may not be suitable to establish

liability. They could have begun working immediately to locate a potential substitute

expert. And they could have immediately proposed to the United States the concept of

seeking a replacement expert, rather than waiting four months before doing so. Instead,

Plaintiffs chose to gamble that the United States would give up its efforts to learn more

about Dr. Tseng’s predicament, hoping no admissible evidence about his current

qualifications ever came to light and they could continue to rely on his opinion. This was

both unwise and inconsistent with the extraordinary relief Plaintiffs now seek. See, e.g.,

Fagen, 2016 WL 2885958, at *3; Smith, 2013 WL 247715, at *2; Crandall, 2012 WL

6086598, at *2.

       To support their good-cause argument, Plaintiffs rely on Vincent v. Omniflight

Helicopters Inc., 2009 WL 4262578 (E.D. Wis. Nov. 24, 2009). See Doc. No. 119 at 11-

12. This Court should not rely on Vincent, however, because it is unpersuasive. The expert

there withdrew after his credibility was destroyed at a deposition, and the court allowed

substitution without fully responding to the arguments raised by the non-moving party. For

example, the defendants in Vincent argued that “plaintiff should not be permitted to ‘try

out’ experts and if one fails to perform as hoped, simply replace him after the fact,” and


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that allowing a swap “would subvert the purpose of Rule 26 expert disclosures,” as that

rule “is intended to facilitate a fair contest with basic issues and facts disclosed to the fullest

practical extent.” Id. at *3 (citing defendant’s brief). The court failed to address this

important consideration, which applies equally here.

       The Vincent defendants also pointed out that “allow[ing] replacement of experts

under circumstances such as this . . . could result in a series of substitutions and vastly

increase the expense of litigation,” id., another argument to which the court did not

respond. Cf. Sithon Maritime Co. v. Holiday Mansion, 1998 WL 433931, *1 (D. Kan. July

30, 1998) (noting expert substitutions “could go on endlessly” if granted “without a

showing of valid reason”). Finally, the defendants in Vincent argued allowing substitution

“would defeat one of the purposes of discovery by encouraging defendants to ‘hold back’

on potentially damaging criticisms of an expert until trial,” and that this would permit “trial

by ambush, something the rules of discovery seek to prevent.” 2009 WL 4262578, at *3

(citing defendants’ brief). Once again, the court said nothing in response to this strong

policy argument, which squarely applies in this case where the United States chose to share

the Legacy letter rather than lying in wait for tactical advantage.

       One additional note about Vincent is that the court, in allowing substitution,

conditioned that step on “plaintiff reimburs[ing] defendants for the expenses incurred in

preparing for and conducting the deposition of” the expert who was being replaced. Id. at

4 (citing Sithon, 1998 WL 433931, at *1). While relying heavily on Vincent and urging

this Court to follow it, Plaintiffs have not offered to reimburse any of the expenses borne

by the United States in deposing or otherwise responding to Dr. Tseng’s opinions.


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       Accordingly, Plaintiffs have failed to show good cause, even assuming they were

able to show excusable neglect (which they cannot).

   C. Alternatively, the Court should impose restrictions to reduce the inevitable
      prejudice to the United States.

       Should the Court decide to allow substitution, the United States respectfully

requests that it do so only subject to strict limitations, in order to reduce somewhat the

inevitable prejudice that would result. Specifically, in keeping with principles from Judge

Frank’s decision in Cardiac Science, Inc. v. Koninklijke Philips Electronics N.V., 2006 WL

3836137 (D. Minn. Dec. 22, 2006), as well as other cases discussed in section III.B.1.a.iii

above, the Court should impose some or all of the following conditions:

          • Require the new expert to adopt Dr. Tseng’s initial and rebuttal reports in

              their entirety, and recommend to Judge Bryan that the new expert’s

              testimony at trial be limited to establishing the veracity and integrity of Dr.

              Tseng and the conclusions reached by Dr. Tseng;

          • Not permit Plaintiffs to share with the new expert any information about the

              testimony in the case by Defendant’s expert surgeon Dr. Jeffrey Friedman or

              VA surgeon Dr. Archana Ramaswamy, nor the rebuttal report or deposition

              testimony of Dr. Tseng (which referenced the same), before the new expert

              renders his or her initial report;

          • Not permit the new expert to testify in any manner that is contrary to or

              inconsistent with Dr. Tseng, including his decision at the time of his




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                deposition not to retreat from his theory that the left gastric artery “must

                have” been cut on April 25, 2018;

           • Recommend to Judge Bryan that the United States be allowed to use Dr.

                Tseng’s deposition testimony for impeachment purposes at trial;

           • Order Plaintiffs to reimburse the United States for the $35,250.00 it has paid

                to liability expert Dr. Jeffrey Friedman for his work on the case to date, and

                for other associated costs related to the defense of the liability aspect of the

                case to date in an amount to be proven;

           • Allow the United States to depose the new expert for up to two days, at

                Plaintiffs’ expense;

           • Allow the United States sufficient time to identify its own new liability

                expert, and for that expert (or Dr. Friedman, at the option of the United

                States) to prepare a responsive report.

       Should the Court allow Plaintiffs to disclose a substitute expert at this phase of the

case, the inevitable prejudice to the United States would be substantial and, in the end,

difficult if not impossible to quantify. While the listed measures could never eliminate

such prejudice, courts facing analogous circumstances have employed them in their efforts

to reduce it.




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                                   IV.     CONCLUSION

       Plaintiffs have not demonstrated either excusable neglect or the good cause

required to allow a party to disclose a new expert long after the Court-ordered deadline

for doing so. Accordingly, their motion should be denied.


                                                 Respectfully submitted,

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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                          Civil No. 21-cv-02088-JMB-LIB


 CARL ANDERSON and
 TAMMY ANDERSON

                      Plaintiffs,
                                                 CERTIFICATE OF COMPLIANCE
        v.

 THE UNITED STATES OF
 AMERICA,

                      Defendant.



The undersigned attorney for Defendant certifies this memorandum complies with the type-

volume limitation of D. Minn. LR 7.1(f) and the type size limitation of D. Minn. LR 7.1(h).

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